
27 So. 3d 986 (2009)
Judy DAVIS
v.
STATE of Louisiana, through the DEPARTMENT OF TRANSPORTATION AND DEVELOPMENT, OFFICE OF RISK MANAGEMENT.
Nos. 09-672.
Court of Appeal of Louisiana, Third Circuit.
November 10, 2009.
*987 George A. Flournoy, Flournoy &amp; Doggett, Alexandria, LA, for Plaintiff/Appellant, Judy Davis.
Leanne M. Broussard, Assistant Attorney General, State of Louisiana, Alexandria, LA, for Defendant/Appellee, State of Louisiana, through the Department of Transportation and Development, Office of Risk Management.
Court composed of ULYSSES GENE THIBODEAUX, Chief Judge, MARC T. AMY and SHANNON J. GREMILLION, Judges.
AMY, Judge.
For the reasons expressed in the consolidated case of Judy Davis v. State of Louisiana, through the Department of Transportation and Development, Office of Risk Management, 09-288 (La.App. 3 Cir.11/10/09), 27 So. 3d 969, the judgment granting the exception of res judicata is reversed. All costs of this proceeding are assessed to the appellee, Louisiana Department of Transportation and Development.
REVERSED.
